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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SILVER, et al.,                           )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )                  No. 1:19-cv-247-APM
                                          )
INTERNAL REVENUE SERVICE, et al.,         )
                                          )
      Defendants.                         )
_________________________________________ )


          DEFENDANTS’ NOTICE OF FILING ADMINISTRATIVE RECORD
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       Defendants file the attached administrative record related to the above-named action in

accordance with the Court’s Minute Order of February 28, 2020.1 Each page of the record is

labeled sequentially, from ADMIN_000001 through ADMIN_003891. For ease of reference,

Defendants include the following table of contents.

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 The certification of this administrative record has been slightly delayed but will be filed as soon
as possible.




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      TD 9846 CRA Form – Copy for the Publications and



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Executive summary accompanying pink circulation for TD   ADMIN_003535
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DATED: April 2, 2020



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